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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                          Plaintiff,
                                               Civil Action No. 1:20-cv-03590 (JEB)
       v.
                                               PUBLIC VERSION
META PLATFORMS, INC.

                          Defendant.



  Declaration of Daniel Matheson in Support of Plaintiff Federal Trade Commission’s
 Motion in Limine to Exclude Testimony of Jason Nieh Regarding Alleged Cost Savings
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I, Daniel Matheson, declare as follows:

1.     I am Chief Trial Counsel of the Federal Trade Commission (“FTC” or “Commission”)

       Bureau of Competition. I am serving as the FTC’s lead trial counsel in FTC v. Meta

       Platforms, Inc., No. 1:20-cv-03590-JEB (D.D.C.). I am admitted to practice in the

       United States District Court for the District of Columbia.

2.     I make this declaration in support of Plaintiff Federal Trade Commission’s Motion in

       Limine to Exclude Testimony of Jason Nieh Regarding Alleged Cost Savings.

3.     Attached as Exhibit 1 is a true and correct copy of PX9022, Expert Report of Jason Nieh,

       dated October 3, 2023.

4.     Attached as Exhibit 2 is a true and correct copy of Defendant Meta Platforms, Inc.’s

       Supplemental Objections and Responses to Plaintiff Federal Trade Commission’s

       Interrogatory Nos. 10 and 12, dated May 31, 2023.

5.     Attached as Exhibit 3 are true and correct excerpts from PX6181, Deposition Transcript

       of Jason Nieh, dated February 15, 2024.

6.     Attached as Exhibit 4 is a true and correct copy of the transcript from the August 17,

       2022, morning session from the bench trial in the United States District Court for the

       District of Columbia in the case captioned United States v. Bertelsmann, No. 21-03886.

7.     Attached as Exhibit 5 is a true and correct copy of PX10090, Meta Presentation:




8.     Attached as Exhibit 6 is a true and correct copy of Meta presentation:




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9.     Attached as Exhibit 7 is a true and correct copy of



10.    Attached as Exhibit 8 is a true and correct screenshot of Jeff Barr, The New Cloud TCO

       Comparison Calculator for Web Applications (Oct. 31, 2012)

       (https://aws.amazon.com/blogs/aws/new-cloud-tco-comparison-calculator-for-web-

       applications/), retrieved on February 21, 2025.

11.    Attached as Exhibit 9 is a true and correct screenshot of Total Cost of Ownership (TCO)

       Calculator (https://azure.microsoft.com/en-us/pricing/tco/calculator/), retrieved on

       February 21, 2025.

12.    Attached as Exhibit 10 are true and correct excerpts from JOHN L. HENNESSY & DAVID A.

       PATTERSON, COMPUTER ARCHITECTURE: A QUANTITATIVE APPROACH (Todd Green et al.

       eds., 5th ed. 2012).

13.    Attached as Exhibit 11 are true and correct excerpts from PX6149, Deposition Transcript

       of

14.    Attached as Exhibit 12 are true and correct excerpts from PX6067, Deposition Transcript

       of

15.    Attached as Exhibit 13 are true and correct excerpts from PX6161, Deposition Transcript

       of

16.    Attached as Exhibit 14 is a true and correct copy of a Meta presentation:



17.    Attached as Exhibit 15 is a true and correct copy of PX12640,




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I declare under penalty of perjury that the foregoing is true and correct.

Executed this 21st day of February, 2025, in Arlington, Virginia.




                                                              Respectfully submitted,

                                                              /s/ Daniel Matheson
                                                              Daniel Matheson (D.C. Bar 502490)




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